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                    .IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

JOSEPH P. LUDVIGSON,              )
                                  )
             Plaintiff,           ) No. 1:07-cv-00652 (RMC)
                                  )
      v.                          )
                                  )
UNITED STATES,                    )
                                  )
             Defendant.           )


                             CERTIFICATE OF SERVICE

      IT IS CERTIFIED that the foregoing UNITED STATES’ MOTION TO DISMISS,

supporting MEMORANDUM, and proposed ORDER were served upon the following

individual(s) on July 6, 2007, by sending a copy by First Class mail, postage prepaid,

addressed as follows:


                          Joseph Ludvigson
                          c/o General Delivery
                          210 North 3rd Street
                          Effingham, IL 62401


                                        /s/ Beatriz T. Saiz
                                        BEATRIZ T. SAIZ
